          Case 2:24-cr-00105-WBV-JVM           Document 298-7        Filed 05/19/25    Page 1 of 2

          From:                     <       @kinginjuryfirm.com>
             To: Jason Giles <jgiles@kinginjuryfirm.com>,           <  @kinginjuryfirm.com>
        Subject: Fwd: Darnell Harris et al v. US Xpress/Leon Parker
           Date: Fri, 07 Dec 2018 17:25:23 +0000
   Attachments: Clerk.Fax-file_Witness_and_Exhibit_List_(10202357xA8A8F).pdf
  Inline-Images: Galloway2_02f3b712-1b21-4b17-81de-961e4e4d7977.png


Leon Parker Witness and Exhibit List - Cornelius Garrison is the only random witness


Attorney
The King Firm
2912 Canal Street
New Orleans, LA 70119
Main: 504-909-5464
Fax: 800-901-6470
      @kinginjuryfirm.com


---------- Forwarded message ---------
From:                                         gallowaylawfirm.com>
Date: Fri, Dec 7, 2018 at 11:17
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                                       p           Parker
To            kinginjuryfirm.com <         @kinginjuryfirm.com>
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Cc:                             @gallowaylawfirm.com>,                           @gallowaylawfirm.com>



Mr. Courtenay,



Please see attached in connection with the above matter.



Thank you,



                  , Legal Assistant
#3 Sanctuary Boulevard, 3rd Floor
Mandeville, Louisiana 70471
O:                | F: 985-674-6681
            @gallowaylawfirm.com

                                                                                         GOVERNMENT
                                                                                           EXHIBIT

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